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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 COMMITTEE ON WAYS AND MEANS,
 U.S. HOUSE OF REPRESENTATIVES,

                         Plaintiff,

                         v.                             Case No. 1:19-cv-01974 (TNM)

 U.S. DEPARTMENT OF THE
 TREASURY, et al.,

                         Defendants,

 DONALD J. TRUMP, et al.,


 Defendant-Intervenors.


                                              ORDER

       The Court has granted the motions to dismiss the operative pleading in this case. Under

Fed. R. Civ. P. 62(c)(1), the Court hereby STAYS execution of that judgment for 14 days. This

will allow the parties to confer regarding next steps in this litigation and the effect of those steps

on Intervenors’ tax documents. If they do not reach a mutually agreeable schedule, Intervenors

may seek interim relief with the Court of Appeals. The Court directs the Executive Branch

Defendants not to disclose any of Intervenors’ tax documents during this 14-day period. See

Nov. 16, 2021 Hr’g Tr. at 118.

       SO ORDERED.

                                                                                 2021.12.14
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Dated: December 14, 2021                               TREVOR N. McFADDEN
                                                       United States District Judge
